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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 FTX TRADING LTD., et al.,                          Case No. 22-11068 (JTD)
                                                    (Jointly Administered)
                         Debtors.
                                                    Hearing Date: May 15, 2024, at 1:00 pm (ET)
                                                    Objection Deadline: April 17, 2024 at 4:00 pm (ET)


               MOTION TO VACATE THE ORDER GRANTING FTX DEBTORS’
               MOTION TO ESTIMATE CLAIMS BASED ON DIGITAL ASSETS
               WITH RESPECT TO NUGENESIS OU AND NUGENESIS PTY LTD

          NuGenesis Ou and NuGenesis PTY Ltd. (collectively, “NuGen”), by and through its

undersigned counsel, hereby submit this motion to vacate (“NuGen Motion”) the Order Granting

Motion of the Debtors to Estimate Claims Based on Digital Assets (the “Estimation Order”) [D.I.

7090] with respect to NuGen only, which granted the Motion of the Debtors to Estimate Claims

Based on Digital Assets (“Estimation Motion”) [D.I. 5202], filed by the debtors and debtors-in-

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

Cases”). In support of the NuGen Motion, NuGen respectfully states as follows:

                                         BACKGROUND

          1.     NuGen is organized under Australian law. Its principal mission is to revolutionize

the blockchain industry through innovative technology and a steadfast commitment to fostering

global collaboration.     NuGen’s principles are deeply rooted in advancing the adoption of

blockchain technology by creating decentralized solutions that empower individuals and

organizations worldwide.

          2.     NuGen, from a technical standpoint, operates within the blockchain domain,

focusing on decentralized ledger solutions aimed at fostering robust, community-driven

ecosystems. The company is engaged in the development of asset management systems built upon
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blockchain technology, emphasizing the importance of decentralized governance and the active

participation of its user base. This approach reflects a commitment to leveraging blockchain for

more than just financial transactions, extending into areas such as asset management, community

growth, and even the ambitious planning of smart cities. The essence of NuGen's work lies in

creating a foundation that supports scalable, secure, and sustainable growth of decentralized

networks, enabling users to have a stake in the ecosystem's development and governance.

       3.      Nucoin, the cryptocurrency developed by NuGen, is a pivotal element of this

ecosystem. Unlike many digital currencies that are pre-mined, Nucoin is produced through a

community-involved minting process, where over 400 individuals contributed resources to

generate the coin. This method underscores the company's ethos of community engagement and

collective effort. The minting and subsequent distribution mechanism of Nucoin is designed to

ensure a fair allocation of resources, with portions of minted coins being directed to treasuries that

support the network's advancement. This not only aids in maintaining the liquidity necessary for

the network's operation but also aids in increasing the overall value of the network. The technical

infrastructure of NuGenesis, particularly with Nucoin, highlights a model where the blockchain is

not just a technology for creating digital currencies but a platform for achieving decentralized

governance and community empowerment.

       4.      On July 15, 2023, NuGen filed proofs of claim asserting claims against the FTX

Debtor. On September 12, 2023, the NuGen creditors filed amended proofs of claim (the “NuGen

Claims”) against the FTX Debtors. In fact, there were multiple NuGen Claims filed because the

filed claims kept disappearing from the claims register. A review of the claims register in these

cases at the time of the filing of this Motion reflects that there are no NuGen Claims anywhere on




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the claims register. So it’s impossible to pin down claims numbers for the NuGen Claims at this

time.

        5.     On December 27, 2023 the Debtors’ filed the Estimation Motion, which sought,

among other things, estimation of NuGen’s claims to $0.00. On December 30, 2023, NuGen

received notice of the Estimation Motion via E-Mail, which included an Objection Deadline of

January 11, 2024 and a hearing date of January 25, 2024 (which such date appears to have been

incorrect). On January 1, 2024, a letter objection to the Estimation Motion, signed by the Founder

and CEO Hussein Faraj of NuGen (the “NuGen Objection”), was mailed to the Court by NuGen,

which was received by the Court on January 5, 2024, date stamped and entered on the docket at

D.I. 5420.

        6.     Kroll Restructuring Administration LLC (“Kroll”) is the Debtors’ claims and

noticing agent per the order approving Kroll’s retention as claims and noticing agent [D.I. 132],

which specifically provides that “Kroll shall serve as the custodian of court records and shall be

designated as the official repository for all proofs of claim filed in these Chapter 11 Cases and is

authorized and directed to maintain official claims registers for each of the Debtors, to provide

public access to every proof of claim, unless otherwise ordered by the Court … .”

        7.     On January 29, 2024, the Debtors filed the Amended Notice of Agenda for Hearing

Scheduled for January 31, 2024 at 10:30 a.m. (ET), Before the Honorable John T. Dorsey at the

United States Bankruptcy Court for the District of Delaware, Located at 824 North Market Street,

5th Floor, Courtroom No. 5, Wilmington, Delaware 19801 (the “First January 31 Hearing Agenda”)

[D.I. 6797]. The First January 31 Hearing Agenda included the Estimation Motion as a matter

going forward at the hearing and provided a list of filed objections and the objectors (the

“Objectors”) to the Estimation Motion contained in an Exhibit A (“Exhibit A to Agenda”) to the



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January 31 Hearing Agenda. This Exhibit A clearly includes the NuGen Objection at item no. 32.

However, NuGen did not receive the First January 31 Hearing Agenda nor did it receive service

of the subsequently filed Amended Hearing Agenda (the “Second January 31 Hearing Agenda”),

which was filed on January 31, 2024. The Affidavit of Service for the Second January 31 Hearing

Agenda (the “Hearing Affidavit of Service”) was filed on February 10, 2024, [D.I. 7260]. The

Hearing Affidavit of Service states that on January 31, 2024, Kroll caused the Second January 31

Hearing Agenda was served via E-Mail on the Core/2002 service list maintained by Kroll. In

addition, according to the Affidavit of Service, the January 31 Hearing Agenda was served via E-

Mail on the Objectors listed on Exhibit B (the “Objections Service List”) to the Affidavit of

Service. However, Exhibit B to the Affidavit of Service is blank except for a statement that due to

the confidential nature of the Debtors’ records, the service list for the January 31 Hearing Agenda

has been redacted. The statement in Exhibit B further provides that the Objections Service list will

be made available to the Court, the Office of United States Trustee (“OUST”) and any Official

Committee upon request.       NuGen understands the confidential nature of creditor contact

information. However, it makes literally no sense that this Affidavit of Service doesn’t at least

include the names of the Objectors on the Objections List. This is because the First January 31

Hearing Agenda, which was publicly filed, clearly lists all of the Objectors by name. In addition,

NuGen is listed on the minute entry/sign-in sheet for the January 31 Hearing. However, the

Objectors’ “sign-in” appears to be simply a pre-generated list of the Objectors based on the

Objectors list in the January 31 Hearing Agenda.

       8.      Further compounding the service issues is the fact that on February 13, 2024, Kroll

filed an Affidavit of Service regarding service of the Debtors’ reply memorandum in response to

the objections filed by the Objectors [D.I. 7349]. This Affidavit of Service includes a service list



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for Objectors. However, that Objectors Service list does not include NuGen, so clearly NuGen

was not served with a critical piece of information for the January 31 Hearing. Finally, the dial-in

and video information that was circulated before the hearing was sent via E-Mail around 9:09

a.m.(ET) on January 31, 2024, (presumably the same time that the amended hearing agenda for

the January 31 Hearing was served) which was approximately 1.5 hours before the January 31

Hearing. The same E-Mail as received by NuGen reflects that it was sent at 12:09 a.m. (AT) on

February 1, 2024. A copy of this E-Mail is attached hereto and incorporated herein as Exhibit A.

In other words, accounting for the time difference between the U.S. and Australia, by the time the

email was seen by NuGen on the morning of February 1, 2024, the January 31 Hearing had already

been held and concluded. These myriad of notice and servicing issues calls into question all of the

noticing around the January 31 Hearing and the Estimation Motion as such noticing concerns

NuGen.

       9.      On February 7, 2024, the Court entered the Estimation Order. A review of the

docket reflects that the entered Estimation Order was served on the Objectors, according to an

Affidavit of Service filed by Kroll on March 4, 2024 [D.I. 8439] that includes an Objectors service

list. However, NuGen is not included on the Objectors service list and never received service of

the entered Estimation Order. NuGen did not find out about the entered Estimation Order until

mid-March 2024 when it hired counsel and was provided with the entered Estimation Order.

                                        JURISDICTION

       10.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b) and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). This Court has

inherent jurisdiction to reconsider its prior orders.

                                      RELIEF REQUESTED

       11.     NuGen hereby requests entry of an order modifying and/or vacating the Estimation

Order as to NuGen Only pursuant to Fed. R. Civ. P. 60, made applicable here by Fed. R. Bankr. P.

9024. Ample basis exists for entry of such an order.

                                       BASIS FOR RELIEF

       12.     Subject to certain exceptions not relevant here, FRCP 60 “applies in cases under

the Code.” Fed. R. Bankr. P. 9024. Pursuant to FRCP 60(b) “ a court may relieve a party … from

a final judgment, order, or proceeding for”, inter alia, “excusable neglect … newly discovered

evidence … misconduct by an opposing party … [because] applying [the judgment] prospectively

is no longer equitable; or … any other reason that justifies relief.” Fed. R. Civ. P. 60(b).

       13.     “[I]t is well established that the Bankruptcy Court as a court of equity has the power

to vacate an order or decree,” In re Johnson & Morgan Contractors, 29 B.R. 372, 374 (Bankr.

M.D. Pa. 1983), “or otherwise modify its own decree.” In re Lebanon Steel Foundry, 48 B.R. 520,

523 (Bankr. M.D. Pa. 1985). “The many subsections of” Fed. R. Civ. P. 60(b) “provide a broad

spectrum in which bankruptcy judges can vacate prior orders,” or aspects of orders. In re F.A.

Potts & Co., Inc., 86 B.R. 853, 857 (Bankr. E.D. Pa. 1988). And, doing so falls within the Court’s

discretion. In re Eastern Sugar Antitrust Litig., 697 F.2d 524, 528 (3d Cir. 1982). “[N]ot only

does the Bankruptcy Court have the power to vacate a final judgment but also may exercise this

power very liberally.” In re Durkalec, 21 B.R. 618, 620 (Bankr. E.D. Pa. 1982). “The only criteria

necessary is to ‘accomplish justice.’” Id. (quoting In re Burley, 11 B.R. 369 (Bankr. C.D. Cal.




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1981), rev’d on other grounds, 27 B.R. 603 (B.A.P. 9th Cir. 1982), rev’d, 738 F.2d 981 (9th Cir.

1984)).

          14.     NuGen seeks limited relief from the Estimation Order as to NuGen only.

Specifically, NuGen seeks release from the Estimation Order, to which NuGen objected to on

January 5, 2024, and the findings and conclusions that the NuGen Claims are valued at $0.00. This

limited relief is warranted for several reasons.

          15.     The first basis for modifying and/or vacating the Estimation Order is newly

discovered evidence. Fed. R. Civ. P. 60(b)(2). Here the newly discovered evidence is simple– it’s

entry of the Estimation Order, of which NuGen was unaware until the middle of March because it

was not served on NuGen. It’s also the various filings and Affidavits of Service referenced above,

all of which were filed weeks after the event giving rise to the noticing contained therein. For

example, the Affidavit of Service for service of the entered Estimation Order [D.I. 8439] was filed

on March 4, 2024, which is approximately three (3) weeks after entry of the Estimation Order by

the Court.

          16.     The second basis for modifying and/or vacating the Estimation Order is “mistake,

inadvertence, surprise or excusable neglect.” Fed. R. Civ. P. 60(b)(1). To the extent that any neglect

can be imparted on NuGen, that neglect is “excusable.” Fed. R. Civ. P. 60(b)(1). The “excusable

neglect” standard is liberally construed, especially in those instances where the order or judgment

forecloses trial on the merits of a claim. See Logan v. Am. Cont. Bridge League, 173 F. App’x 113,

116 (3d Cir. 2006) (noting cases in which Rule 60(b)(1) relief was granted where excusable neglect

otherwise prevented a claim from being adjudicated on its merits); cf. George Harms Const. Co.

v. Chao, 371 F.3d 156, 165 (3d Cir. 2004). Whether the Court should grant NuGen relief from the

Estimation Order as a result of excusable neglect rests on a balancing test, calling for consideration



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of the following: (i) the danger of prejudice to the debtor, (ii) the length of the delay and its

potential impact on judicial proceedings, (iii) the reason for the delay, including whether it was

within the reasonable control of the movant, and (iv) whether the movant acted in good faith.

Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 395 (1993).

       17.     Here, of course, there is no prejudice to the Debtors by providing the relief

requested herein. First, there are claimants that were carved-out of the Estimation Order, and such

claimants and the Debtors have a scheduling order for a litigation track regarding estimation of

those claimants’ claims – so the Debtors are still actively litigating claims estimations. Second,

the Examiner was just appointed and the Court entered an order concerning duties and scope of

the examination on March 20, 2024. The investigation by the Examiner will certainly take time,

at least in the near term, during the pendency of the Debtors’ cases. Therefore, there is little to no

prejudice to the Debtors and the requested relief should be granted.

       18.     Any delay in NuGen’s effort to seek relief from the Estimation Order is minimal.

NuGen did not receive the January 31 Hearing access information until February 1, 2024, and

NuGen was not served with the Debtors reply memorandum, nor entry of the Estimation Order.

As discussed earlier, NuGen wasn’t even aware that the Estimation Order had been entered until

the middle of March, when NuGen obtained counsel. This Motion has been brought quickly since

NuGen’s discovery of the entry of the Estimation Order and subsequent discovery of the fact that

NuGen did not receive the January 31 Hearing access information until February 1, 2024, and

NuGen was not served with the Debtors reply memorandum, nor entry of the Estimation Order.

Certainly, failure to receive adequate and appropriate notice and service is not the fault of the party

that should receive notice, but rather the party whose duty it is to provide adequate notice and

service. Here, that duty fell on the Debtors and its professionals.



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       19.     Finally, the Court should provide NuGen limited relief from the Estimation Order

pursuant to Fed. R. Civ. P. 60(b)(6). “In short, Rule 60(b)(6) is a reservoir of equitable power to

do justice in particular cases where relief is warranted.” In re Durkalec, 21 B.R. 618, 620 (Bankr.

E.D. Pa. 1982) (citing In re Smith, 3 B.R. 224, 229 (Bankr. E.D. Va. 1980)). A court “should . . .

grant[]” relief pursuant to Fed. R. Civ. P. 60(b)(6) when refusing to do so would “preclude[] an

adjudication on the merits” and granting such relief is “‘appropriate to accomplish justice.’”

Boughner v. Sec’y of Health, Educ. & Welfare, U.S., 572 F.2d 976, 979 (3d Cir. 1978) (internal

citations omitted).

       20.     NuGen submits that the notice failures surrounding the January 31 Hearing and the

Estimation Motion prevented it from pressing its objection to the Estimation Motion. This warrants

justice and the modification and/or vacation of the Estimation Order in these chapter 11 cases as

to NuGen only.

                                              NOTICE

       21.     NuGen will provide notice of this motion to (a) counsel to the Debtors (b) the

United States Trustee for the District of Delaware; (c) counsel to the Official Committee of

Unsecured Creditors and (d) any party receiving electronic notice in these cases pursuant to

Bankruptcy Rule 2002. NuGen submits that, in light of the nature of the relief requested, no other

or further notice need be given.

       WHEREFORE, NuGen respectfully requests that the Court enter an order (i) granting this

Motion in its entirety, (ii) granting NuGen the limited relief set forth herein, (iii) modifying and/or

vacating the Estimation Order as to NuGen, and (iv) other relief as is proper and just.




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Dated: April 3, 2024                     GELLERT SCALI BUSENKELL &
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